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     AYNUR BAGHIRZADE, IN PRO SE
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 7                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
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                                               Case No.: 3:24-CV-01077-RSH-MMP
10   AYNUR BAGHIRZADE,
                                               PLAINTIFF’S EX PARTE
11                              Plaintiff,     APPLICATION TO EXTEND THE
                                               TIME TO FILE THIRD AMENDED
12           v.                                COMPLAINT
     ARMENIAN NATIONAL
13   COMMITTEE OF AMERICA, et al.,
                                               Presiding Judge: Hon. Robert Huie
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                                               Magistrate Judge : Hon. Michelle M.
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     Ex Parte Application                              Case No.: 3:24-CV-01077-RSH-MMP
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 1                                    I. INTRODUCTION
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 3          This EX PARTE APPLICATION for extension of time to file third amended
 4   complaint (TAC) is made pursuant to Local Rule 7.1.
 5
 6                 II. FACTUAL AND PROCEDURAL BACKGROUND
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 8          Plaintiff filed her Second Amended Complaint (“SAC”) on November 16,
 9   2024 (Docket # 96). Afterwards, Defendants appearing in this case filed multiple

10   motions to dismiss or strike. On February 27, 2025, Court issued order granting

11   Defendants’ motions to dismiss and/or strike with the leave to amend within 14
     days from the date of issuance of the order (Docket # 176).
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                   III. ARGUMENTS
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            Good cause exists to grant Plaintiff additional time to amend her complaint.
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     Plaintiff is moving pro se against 31 Defendants and needs substantially amend her
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     pleading as a result of the Court order. Court order requires her to plead under
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     heightened pleading standard facts about all 31 Defendants (mail & wire fraud),
19   plead more facts on commonality and longevity of the conspiracy as well as make
20   significants changes to her federal claims. New facts Plaintiff discovered also show
21   that there are many other non-party co-conspirators in the underlined case, and
22   Plaintiff needs to add those facts (only as pertaining to non-parties according to
23   court order) in order to show the full picture of the conspiracy. Since Plaintiff is
24   targeted by the foreign political party having multiple offices all over the world,
25   Plaintiff now studies foreign and international sources to add more facts, often in
26   different languages (which need translation to English). Plaintiff also is in the
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 1   process of relocation/ search for new apartment as her current lease is over and,
 2   therefore, 14 days will not be enough to finalize her amendment process.
 3          Plaintiff, therefore, respectfully asks the Court to extend the time for her to
 4   file TAC. 14 days allowed by the Court to file TAC expire on March 13, 2025.
 5   Plaintiff request to extend this time till March 27, 2025.
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 7                                    IV. CONCLUSION

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            Considering of all foregoing, Plaintiff respectfully ask this Court to extend
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     the time for filing her TAC from March 13, 2025 to March 27, 2025.
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11
12                                                   Respectfully submitted,
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     Dated: March 3, 2025                            Plaintiff, Aynur Baghirzade
14
15                                                   By: /s/ Aynur Baghirzade
                                                     Aynur Baghirzade
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                                                     Email: contact@aynurlawyers.com
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     Ex Parte Application                                 Case No.: 3:24-CV-01077-RSH-MMP
